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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA




 v.                                                   No. 15-CR-10304-DPW


 MICHAEL GORDON,
 ANDREAN JAGGON,
 DAGOBERTO OLEA, and
 DAPHNE JEAN,

                Defendants



        ORDER ON DEFENDANT’S MOTION FOR A BILL OF PARTICULARS
                   PERTAINING TO DAGOBERTO OLEA

                                       November 18, 2015

CABELL, U.S.M.J.

       INTRODUCTION

       On September 23, 2015, the grand jury returned a 14 count superseding indictment

charging a total of four defendants with various offenses arising from their alleged participation

in a marijuana drug trafficking operation. With respect to the defendant Dagoberto Olea (the

defendant), the indictment alleges that he conspired with the other three codefendants over an

approximate three year period to possess with intent to distribute over 1,000 kilograms of

marijuana, in violation of 21 U.S.C. § 846, but does not otherwise provide any specific details

regarding his alleged conduct. The defendant argues that he needs additional information in

order to defend against the charge, and has filed the pending Motion for A Bill of Particulars
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Pertaining to Dagoberto Olea, seeking: (1) a precise description of the alleged conspiracy; (2)

the places and dates of discussion and agreement with co-conspirators; (3) the precise manner in

which he assisted in the alleged interstate distribution of marijuana; (4) the precise manner by

which he allegedly distributed or sold marijuana in furtherance of the conspiracy; (5) the precise

means, if any, by which he transported marijuana outside of California; and (6) what monetary

remunerations, if any, he obtained from his co-conspirators for his alleged involvement in this

alleged conspiracy. (Dkt. No. 143). For the reasons that follow, the motion is DENIED.

       DISCUSSION

       A bill of particulars is not a discovery tool and it should not be used to obtain disclosure

of “evidence, witnesses to be offered at trial, or the government’s legal theories.” United States

v. Stryker Biotech, LLC, No. 09-10330-GAO, 2010 WL 2900684, *3 (D. Mass. Jul. 21, 2010)

(citing United States v. Smith, 776 F.2d 1104, 1111 (3d Cir.1985)). Rather, its purpose “is to

provide the accused with detail of the charges against him where necessary to enable him to

prepare his defense, to avoid surprise at trial, and to protect against double jeopardy.” Id. (citing

United States v. Paiva, 892 F.2d 148, 154 (1st Cir.1989)). A motion for a bill of particulars

should be granted only where “the charges set forth in the indictment are so general that they fail

to inform the defendant of the specific acts of which he is accused.” Unites States v. Blumberg,

No. 3:97-CR-119, 1998 WL 136174, *3 (D. Conn. Mar. 11, 1998) (citing United States v.

Torres, 901 F.2d 205, 234 (2d Cir.)).

       Courts deciding requests for bills of particulars thus consider factors such as the

complexity of the charges facing a defendant, the amount of detail in the indictment, the nature

of the discovery already provided to the defendants, and whether the information sought relates

to matters the government will have to prove at trial. Stryker Biotech, LLC, 2010 WL 2900684



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at *3; United States v. Salemme, No. 94-10287, 1997 WL 37530 (D. Mass. Jan. 13, 1997)

(granting motion in part because of complexity of allegations); United States v. Hsia, 24 F. Supp.

2d 14, 31 (D.D.C. 1998) (denying portion of motion seeking disclosure of all overt acts

committed in furtherance of conspiracy because the government does not have the burden at trial

of proving all overt acts). A defendant has the burden of showing that further disclosures are

needed to prevent prejudicial surprise, or to allow a meaningful opportunity to defend the action.

Stryker Biotech, LLC, 2010 WL 2900684 at *4 (citing United States v. Rogers, 617 F. Supp.

1024, 1027 (D. Colo. 1985)). The question for the Court, therefore, “is not whether the

information sought would be beneficial to the defendant, but whether it is necessary to his

defense.” Blumberg, 1998 WL 136174 at *3 (emphasis added).

       Applying the foregoing here, the defendant has not met his burden of showing that he

needs additional information to understand the charges against him or to avoid surprise at trial.

As an initial matter, the single charge against the defendant is fairly simple; it alleges that he

engaged in a conspiracy with three other people over a three year period to distribute marijuana.

And although it is true that the indictment provides very little information regarding the specific

type and size of role the defendant is alleged to have played in that three year conspiracy, it does

set out the nature of the underlying criminal offense, the relevant time period of the conspiracy,

and the identities of the co-conspirators. The First Circuit has held that an indictment providing

such information is not so impermissibly vague as to warrant a bill of particulars. See United

States v. Hallock, 941 F.2d 36, 40 (1st Cir. 1991) (affirming denial of motion for bill of

particulars where indictment containing dates of conspiracy, names of co-conspirators and object

of conspiracy provided information sufficient to apprise defendant of the crime charged); Pavia,

892 F.2d at 155.



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       More importantly, though, the government in its opposition avers that it has provided the

defendant with “voluminous” discovery, including investigative reports, witness statements and

financial records, as well as a detailed law enforcement affidavit which “literally explains in

detail the manner in which the conspiracy operated, who was involved, and the role played in it

by Olea.” The government further asserts that the discovery in the aggregate details the transfer

of large sums of money from one co-conspirator’s (Gordon) account to ones held by the

defendant and his brother, evidence of Gordon’s contact with the defendant at times and in a

manner consistent with the use of rental cars to transport and ship marijuana, evidence of the

defendant’s arrest in one of those vehicles laden with marijuana, and evidence obtained

following that arrest tending to support the contention that the defendant was acting in

furtherance of the charged conspiracy. The defendant does not dispute having received such

discovery or the government’s characterization of it.

       Against this backdrop, then, it is possible, and perhaps even probable, that the

government has already provided the defendant with the thrust of the information he seeks.

Regardless, and to be clear, the Court concludes that the indictment along with the government’s

discovery are easily sufficient to apprise the defendant of the charge against him and to allow

him prepare a defense and avoid surprise at trial. It follows that the indictment in context is not

impermissibly vague, and the defendant is not entitled by way of a bill of particulars to the

additional information he seeks.




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      CONCLUSION

      For the foregoing reasons, the Motion for A Bill of Particulars Pertaining to Dagoberto

Olea is DENIED.



                                           /s/ Donald L. Cabell
                                           DONALD L. CABELL, U.S.M.J.

DATED: November 18, 2015




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